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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

               Plaintiff,
         v.
                                         Case No. 20-cr-106 (RC)
LIRIM SYLEJMANI,

               Defendant.



      EMERGENCY MOTION FOR DEFENDANT’S TRANSFER BACK
        TO THE ALEXANDRIA DETENTION CENTER OR TO AN
         ALTERNATE FACILITY THAT SERVES HALAL FOOD



                                        Office of the Federal Public Defender
                                                Attorney for Lirim Sylejmani
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                                        Of counsel
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                                     Introduction

      On December 30, 2020, Mr. Lirim Sylejmani moved this Court seeking an

Order returning him to the Alexandria Detention Center (ADC) from Northern

Neck Regional Jail (NNRJ). See Dkt. Entry #19. Mr. Sylejmani now augments his

previous filing to add an additional basis for the relief he seeks. Mr. Sylejmani is a

Sunni Muslim who follows the rules of his religion, including that he may only eat

halal food.

      Mr. Sylejmani has informed NNRJ that, as a devout Muslim, he may not eat

non-halal meat. NNRJ, however, has refused to provide to him halal food or to

make any accommodation for his religious beliefs. See, Exhibit A, email from NNRJ

reflecting its understanding of what makes for halal meat. The electronic

correspondence from NNRJ reveals a remarkable lack of understanding of what is

halal food. NNRJ appears to be under the belief that simply because pork is not

served to inmates at NNRJ, all meat they provide is halal. Even the most

rudimentary of google searches would belie such an understanding.

https://www.icv.org.au/about/about-islam-overview/what-is-halal-a-guide-for-non-

muslims/. That NNRJ does not serve pork does not make the meat they serve

“halal” – there is far more to food being halal than its proximity to pork. Imam

Safwan Eid, Director of Religious Affairs at the Muslim Center of Greater Princeton

has volunteered to provide further information to the Court as well as to NNRJ.

      Not only does NNRJ not provide Muslims with halal meat (while

accommodating other religions with similar beliefs), NNRJ even has refused to



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provide him with a kosher meal tray that is, given his circumstances, a religiously

acceptable substitute for a halal meal. The only solution proposed by NNRJ is that

Mr. Sylejmani eat vegetarian food should he be unhappy with not being able to

practice his religion. That proposal is not a solution that comports with the First

Amendment of the Constitution of the United States.

         Despite numerous “cop-outs” filed by Mr. Sylejmani with NNRJ and repeated

requests for halal food, Mr. Sylejmani has received none. He has lost weight;

forbidden from eating the meat given in the regular meal tray, as it is haram

(forbidden by Islamic law), he has gone without protein for months. If the meat

touches the rest of the food, as a Muslim, he may not eat any of the food on the

plate. 1

         Mr. Sylejmani therefore respectfully requests that the Court exercise its

discretion and assist him in returning to ADC where he previously was detained.

Counsel is informed ADC intends to again receive those who are arrested in the

United States District Court for the District of Columbia.

         In contrast to NNRJ, the ADC provided Mr. Sylejmani a “kosher” meal that

comports with the strictures of Islam. Additionally, because of the ADC’s relative

proximity to D.C., housing Mr. Sylemani there will allow his counsel to visit with

him in person and allow him to work with others on his legal team. Should ADC not




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 Mr. Sylejmani has explained to NNRJ that just because NNRJ does not serve pork products does not make the beef
or chicken they serve “halal”. He has also explained that if he is served food on plate (not a tray where the food is
separately wrapped), he is forbidden from eating any of the side dishes that touch the meat.

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be an available alternative, Mr. Sylejmani requests placement at a BOP facility that

will provide him with halal food.

      For this reason and the reasons stated in his prior motion (Dkt. Entry #19),

we respectfully request that this Honorable Court Order the United States

Marshals Service (“USMS”) to return Mr. Sylejmani to ADC or other appropriate

facility that provides halal, or at the very least, kosher food.

      The government defers to the USMS and takes no position on this request,

and defers to the Court and the United States Marshal Service.

                                  Respectfully submitted,

                                  A.J. Kramer
                                  Federal Public Defender

                                          /s/
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